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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ILLINOIS
                             WESTERN DIVISION

    FIREBLOK IP HOLDINGS,

                                                Plaintiff,

                             V.                                              Case No.: 19-cv-50122

    HILTI, INC., AND RECTORSEAL, LLC                                       JUDGE IAIN D. JOHNSTON

                                            Defendants.


                            MEMORANDUM OPINION AND ORDER

         On May 22, 2019, Plaintiff FireBlok IP Holdings brought this action against

Defendants Hilti, Inc. and RectorSeal, LLC (Defendants), alleging claims for uniform

deceptive trade practices, consumer fraud and deceptive business practices, false

designation of origin, and false marking. Dkt. 1. Several claims have been added, and

several others have been dismissed throughout these proceedings. Now, false

advertising and false association1 are the two claims that remain. Dkt. 200.

         The case now comes before the Court on FireBlok’s motion for summary

judgment. Dkt. 316. Per its standing order, the Court held pre-filing conferences

before the summary judgment motion was filed. The Court asked several pointed

questions on whether filing a summary judgment motion was appropriate under

these circumstances. FireBlok repeatedly insisted the filing was appropriate and a

good use of resources.               It was wrong.               The Court recognizes that it can’t stop

FireBlok—or any other party—from filing summary judgment motions. But whether


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  This claim is referenced by the parties using several different names but, for the sake of clarity, it will be referred
to as false association throughout this opinion.

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a party can do something is a very different question than whether a party should do

something. See Hernandez v. Williams, 2025 WL 789382, at *2 n. 1 (N.D. Ill. Mar. 12,

2025). For the following reasons, FireBlok’s motion for summary judgment is denied.

                               LEGAL STANDARD

      Summary judgment is proper “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). The Court must construe the “evidence and all reasonable

inferences in favor of the party against whom the motion under consideration is

made.” Rickher v. Home Depot, Inc., 535 F.3d 661, 664 (7th Cir. 2008).

      A genuine dispute of material fact exists if a reasonable jury could return a

verdict for the nonmovant; it does not require that the dispute be resolved

conclusively in favor of the nonmovant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248-49 (1986). However, “[s]peculation is insufficient to withstand summary

judgment.” Ortiz v. John O. Butler Co., 94 F.3d 1121, 1127 (7th Cir. 1996). Indeed,

“the nonmoving party ‘must do more than simply show there is some metaphysical

doubt as to the material facts.’” Id. (quoting Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 586 (1986)).

      When, as in this case, the party moving for summary judgment also bears the

burden of proof at trial, an additional word about the legal standard merits note. A

summary judgment motion is typically filed by a party who does not bear the ultimate

burden of persuasion and thus only requires a simple showing of an absence of

evidence supporting any essential element. See Modrowski v. Pigatto, 712 F.3d 1166,



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1168 (7th Cir. 2013). Conversely, a party with the burden of proof at trial has a higher

burden at the summary judgment stage in that it must “lay out the elements of the

claim, cite the facts which it believes satisfies these elements, and demonstrate why

the record is so one-sided as to rule out the prospect of a finding in favor of the non-

movant on the claim.” Hotel 71 Mezz Lender LLC v. National Retirement Fund, 778

F.3d 593, 601 (7th Cir. 2015); see also Surles v. Andison, 678 F.3d 452, 455-56 (6th

Cir. 2012). Thus, a movant who bears the burden of proof at trial can only prevail by

proving each element with sufficient evidence that compels one and only one

conclusion; namely, it must prevail as a matter of law based on the record before the

court.

                                   BACKGROUND

         The parties each submitted their statements of material facts and responses to

those statements in accordance with Local Rule 56.1(a)(2). Dkt. 331, 333, 338.

Unfortunately, the parties seem to misunderstand the purpose of Local Rule 56.1

which “is to have the litigants present to the district court a clear, concise list of

material facts that are central to the summary judgment determination.” Curtis v.

Costco Wholesale Corp., 807 F.3d 215, 219 (7th Cir. 2015). The rule was intended to

simplify the summary judgment process, but unfortunately the rule is generally only

honored in the breach, resulting in an unnecessarily complicated process. See Pursley

v. City of Rockford, No. 18-cv-50040, 2024 U.S. Dist. LEXIS 42105, at *4 (N.D. Ill.

Mar. 11, 2024).

         The Rule provides that the statement “shall consist of short numbered



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paragraphs” to which the opposing party is required to file “a response to each

numbered paragraph.” L.R. 56.1(a)-(b). Although the parties seem to comprehend this

basic foundation, the parties apparently don’t understand that Rule 56.1 Statement

Responses are not the place to introduce new facts “that go well beyond the facts

asserted” in the initial statements nor are these statements the appropriate route by

which to make legal arguments. Bolden v. Dart, 2013 WL 3819638, at *2 (N.D. Ill.

July 23, 2013); see also L.R. 56.1(e)(2). Most notably, FireBlok directly contravenes

the Rule by filing a reply to Defendants’ response despite no such reply being

permitted in this Court. L.R. 56.1(f). As a result of this failure to strictly comply with

the rules, the new assertions presented in FireBlok’s reply will be ignored.

         The Court has nonetheless taken the time and care necessary to determine

precisely which facts are undisputed for the purpose of this motion. In the future,

when before this Court, counsel should take care to strictly comply with all relevant

rules.

         This action concerns Defendants’ use of the UL certified mark and FM

approved mark on their product, the Firestop Box Insert. See Dkt. 200, Pl.’s Third

Am. Compl. More specifically, FireBlok alleges that Defendants’ use of these marks

constitutes “false description” in violation of the Lanham Act. See id. at *13-15.

         Defendants include Hilti, Inc. and RectorSeal, LLC, two companies who jointly

manufacture and sell the Firestop Box Insert. Dkt. 331, Plaintiff’s Statement of Facts,

¶ 6. Plaintiff FireBlok is a corporation that sells the FireBlok Gasket. Dkt. 333,

Defendants’ Statement of Facts, ¶ 2.



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      According to UL’s website, a product with the UL certification mark is one that

UL found to meet UL’s requirements by a representative sample. Dkt. 331, at ¶ 1.

According to FM’s website, an FM approved mark denotes that a product has

completed FM’s testing process. Id. at ¶ 2.

      At no point has FireBlok’s product been FM approved. Dkt. 333, at ¶ 6. The

product also had its UL certification withdrawn on March 28, 2023. Id. at ¶ 15.

      RectorSeal sent an email to UL on August 1, 2008, that requested UL withdraw

its certification. Dkt. 331, at ¶ 18. On the same day, RectorSeal also sent an email to

FM that led FM to withdraw its listing. Id. at ¶ 19. The label on the Firestop Box

Insert has contained the UL certification mark continuously since 2008. Dkt. 200, ¶

113. The label has also included the FM approved mark continuously since 2009. Id.

at ¶ 128.

                                    DISCUSSION

      The Lanham Act creates liability for harm done by falsely designating a

product as being approved by or associated with another in 15 U.S.C. § 1125(a)(1)(A)

and liability for harm done by providing a false or misleading description of fact in

the advertisement of a product in 15 U.S.C. § 1125(a)(1)(B). The Supreme Court has

explained that these clauses create two distinct bases of liability for false association

and false advertising. Lexmark Intern., Inc. v. Static Control Components, Inc., 572

U.S. 118, 122 (2014). To be abundantly clear, a false association claim arises when a

defendant improperly suggests some sort of connection between their product and

another person—hence the use of the word “association.” In contrast, a false



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advertising claim arises when a defendant incorrectly describes the product itself.

      Unfortunately, FireBlok seems to misunderstand this difference. FireBlok

argues that Defendants’ use of the marks “claims a sponsorship or approval that does

not exist,” and “misrepresents the nature, characteristics and quality of the product,”

creating an undifferentiated amalgam of a claim. Dkt. 330, at *2. FireBlok correctly

outlines the elements of false association but makes no attempt to identify and

analyze the separate elements of false advertising. Id. at *5. Then, using the elements

of a false association claim, FireBlok argues that it has proven “false description,”

seemingly encompassing both its false association and false advertising claims. Id. at

*14. This failure to lay out and address each of the elements is enough on its own to

require a denial of this motion. See Hotel 71 Mezz Lender, 778 F.3d at 601.

Nonetheless, the Court will address the arguments put forth in relation to both a

claim of false advertising and a claim of false association resulting from Defendants’

use of the UL certification mark and the FM approved mark.

   A. False Advertising

      The Lanham Act creates liability for any person who uses a false or misleading

description of fact in commerce that “misrepresents the nature, characteristics, [or]

qualities” of their goods. 15 U.S.C. § 1125(a)(1)(B). To establish such a claim, FireBlok

must establish each of the following requirements:

   (1) Defendants made a false statement of fact in a commercial advertisement

      about the Firestop Box Insert;

   (2) Defendants’ statements actually deceived or has the tendency to deceive a



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      substantial segment of their audience;

   (3) The deception is material, in that it is likely to influence the purchasing

      decision;

   (4) Defendants caused their false statement to enter interstate commerce; and

   (5) FireBlok has been or is likely to be injured as a result of the false statement,

      either by direct diversion of sales from itself to Defendants or by a loss of

      goodwill associated with its products.

Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d 813, 819 (7th Cir. 1999).

      As to the first element, a plaintiff has two options for proving a statement’s

falsity. One option is for the plaintiff to show that the statement is literally false.

BASF Corp. v. Old World Trading Co., Inc., 41 F.3d 1081, 1088-89 (7th Cir. 1994). If,

on the other hand, the statement is literally true or ambiguous, then the plaintiff

must demonstrate that the statement is misleading, by establishing that actual

customers have been misled. Id. at 1089.

      To determine if a statement is literally false, two questions must be answered:

(1) what is the message that is being conveyed to the customer, and (2) is that

message false. See Wing Enterprises, Inc. v. Tricam Industries, Inc., 511 F.Supp.3d

957, 967 (D. Minn. Jan. 7, 2021). “’[L]iterally’ must be understood in the common

colloquial sense in which Americans (not realizing, or perhaps not caring, that they

are making Fowler turn in his grave) say things like ‘I am literally out of my mind.’

A ‘literal’ falsehood is bald-faced, egregious, undeniable, over the top.” Schering-

Plough Healthcare Products, Inc. v. Schwarz Pharma, Inc., 586 F.3d 500, 512-13 (7th



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Cir. 2009). Thus, both of these questions are fact intensive and require consideration

of the context in which the statements are made.

      FireBlok claims that Defendants’ use of the UL certification mark and their

use of the FM approved mark constitute literally false statements because

Defendants withdrew their certifications with both certifying bodies. Dkt. 330, at *8,

10-11. Defendants argue that both marks were not literally false. In their view, the

Firestop Box Insert was, in fact, UL certified as shown by UL’s continued listing of

Hilti’s product as a UL certified product and UL’s lack of adverse actions against

Defendants for their use of the UL certified mark. Dkt. 334, at *9. Defendants also

argue that their use of the FM approved mark was not literally false as FM continued

to conduct routine inspections of the manufacturing process, issued Certificates of

Compliance, and continued listing the Firestop Box Insert as an FM Approved

product. Id. at *10. This is a genuine factual dispute that prevents summary

judgment in favor of FireBlok.

      At the heart of the dispute is what Defendants’ use of the UL certified mark

and the FM approved mark on the Firestop Box Insert means. A jury considering the

meaning of these words from the perspective of “any linguistically competent person,”

might believe these statements to mean that the Firestop Box Insert met the safety

requirements set by UL and FM, in which case the statement would be true.

Schering-Plough Healthcare Products, Inc., 586 F.3d at 513. A jury could certainly

also reasonably interpret these statements to mean that Defendants were authorized

to use these marks on their product, in which case a genuine dispute still remains.



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Because failing to establish even one element is dispositive of FireBlok’s motion,

summary judgment must be denied on this basis.

      As for the deception element, FireBlok relies on precedent establishing that

evidence of customer confusion is not necessary when the challenged statement is

literally false. Dkt. 330, at *12-13 (citing Eli Lilly & Co. v. Arla Foods, Inc., 893 F.3d

375, 382 (7th Cir. 2018)). Although true, this ability to essentially skip this element

is of course predicated on FireBlok showing the challenged statements to be literally

false. As discussed above, a genuine dispute of material fact remains as to the literal

falsity of the statements and FireBlok provides no evidence even suggesting any

customer deception.

      FireBlok attempts to argue that it established this element even without

assuming literal falsity in response to Defendants’ analysis of the Uncommon factors.

Dkt. 336, at *9-11. However, in making this argument, the parties both confuse the

two Lanham Act claims. FireBlok and Defendants list and analyze the factors for

likelihood of confusion that are applicable to false association claims rather than the

test used for false advertising claims. Dkt. 334, at *10-11; Dkt. 336, at *9-11. These

factors cited by the parties are used to determine “whether consumers who might use

either product would likely attribute them to a single source.” Uncommon, LLC v.

Spigen, Inc., 926 F.3d 409, 425 (7th Cir. 2019). This type of “attribution” is consistent

with a false association claim, but a false advertising claim requires a showing of

deception about the product itself. See L.S. Heath & Son, Inc. v. AT & T Info. Syst.,

Inc., 9 F.3d 561, 571 (7th Cir. 1993) (explaining that false association concerns “the



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wrongful use of another’s distinctive mark” whereas false advertising concerns “the

qualities of goods”).

       Rather than applying these false association confusion factors, FireBlok must

show “that the statement[s] implicitly convey[] a false impression, [are] misleading

in context, or likely to deceive consumers.” Bell v. Publix Super Markets, Inc., 982

F.3d 468, 479 (7th Cir. 2020) (citing Hot Wax, 191 F.3d at 819) (internal quotation

marks omitted). This is a highly factual inquiry that “is not for the judge to determine,

based solely upon his or her own intuitive reaction, whether the advertisement is

deceptive,” and thus should, in most situations, be left to the jury to decide. Id. (citing

Johnson & Johnson v. Merck Consumer Pharmaceuticals, 960 F.2d 294, 297-98 (2nd

Cir. 1992)). As FireBlok did not even attempt to argue the marks convey a false

impression or deceives consumers, it has certainly not met the high burden required

of this element.

       Even assuming the statements did deceive consumers, FireBlok has also failed

to show that the deception was material to the customers’ decisions. A claim of false

advertising requires a showing that the falsities or misrepresentations were

“’material’ in the sense that it would have some effect on consumers’ purchasing

decision.” J. Thomas McCarthy, 4 McCarthy on Trademarks and Unfair Competition

§ 27:35 (4th ed. 1997). Despite this requirement, FireBlok simply alleges that “[t]hese

materially false statements satisfy the first prong of the false designation analysis.”

Dkt. 330, at *11 (emphasis added). Not only does FireBlok provide no support for this

allegation of materiality, but it is also only brought up in relation to the false



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association analysis which, as discussed above, is wholly separate from the false

advertising claim. This motion then must be denied on this basis as well.

        As to the fourth element, the parties do not dispute that Defendants put the

Firestop Box Insert into interstate commerce with the allegedly false statements.

Satisfying one element of a claim, however, does not warrant granting summary

judgment.

        Finally, FireBlok did not point to evidence of, nor did it even assert, that it was

injured in its motion. In response to Defendants’ argument relating to injury,

FireBlok first argues that its injury is “self-evident” by the very nature of the parties’

competitive relationship. Dkt. 336, at *2. However, FireBlok provides no case law in

support of this assertion. 2 To make a showing of injury, FireBlok then goes on to point

to contested facts that allegedly support the existence of an injury. Id. at *3-7. Again,

a motion for summary judgment will only be granted when supported by facts that

cannot be genuinely contested. Fed. R. Civ. P. 56(a). Even considering the arguments

put forth in its reply, FireBlok has not met its burden of establishing the absence of

a genuine issue of material fact related to its alleged injury. Thus, FireBlok’s motion

for summary judgment must be denied as to the false advertising claim.

     B. False Association

        The Lanham Act also creates liability when a defendant makes a false

statement about their product suggesting association with or approval by another

person. To establish such a claim, FireBlok must show that Defendants:


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 The Court does not appreciate FireBlok’s attempt to use one statement made by the Court to create a completely
new presumption of injury out of whole cloth.

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   (1) used in commerce

   (2) a false or misleading description or representation of fact

   (3) which is likely to cause confusion or mistake, or to deceive, as to the approval

      of the Firestop Box Insert by UL and FM.

15 U.S.C. § 1125(a)(1)(A).

      As discussed above, the parties do not dispute that these challenged

statements were put into interstate commerce by Defendants. However, FireBlok

must establish all three elements to warrant granting its summary judgment motion.

      As to the second element, the discussion above explains that FireBlok has

failed to establish literal falsity. But this element simply requires a false or

misleading fact. Id. Thus, without establishing literal falsity, FireBlok could still

satisfy this element with a showing “that the statement is misleading in context, as

demonstrated by actual consumer confusion.” B. Sanfield, Inc. v. Finlay Fine Jewelry

Corp., 168 F.3d 967, 971-71 (7th Cir. 1999) (internal citations and quotation marks

omitted); see also Seventh Circuit Pattern Instruction 13.3.1 (“A statement is

misleading if it conveys a false impression and actually misleads a consumer.”).

FireBlok has pointed to no such confusion. For this reason alone, the summary

judgment motion on the false association claim must be denied.

      Finally, as to requiring the likelihood of confusion, FireBlok argues that it is

not required to provide any evidence because the statements are literally false. Dkt.

330, at *12. Defendants argue that this presumption only applies to false advertising

claims and has no applicability in false association claims. Dkt. 334, at *10. In reply,



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FireBlok points to Defendants’ lack of any binding case law that supports this

assertion. Dkt. 336, at *8-9. However, both cases cited by FireBlok to support this

presumption of confusion did so in the context of false advertising, not false

association. See Eli Lilly, 893 F.3d at 382; Hot Wax, 191 F.3d at 820 (both applying

the literal falsity presumption to a false advertising claim). With no case law

specifically applying this presumption to a false association claim, the Court is

unconvinced, especially when FireBlok bears the burden. Even assuming this

presumption applied to false association claims, this factor still has not been

sufficiently established. As discussed above, this literal falsity remains a question of

fact and thus cannot take away the need for FireBlok to provide evidence of this

element.

      FireBlok also analyzes the confusion factors irrespective of the literal falsity

presumption in its reply. Dkt. 336, at *9-11. However, likelihood of confusion “is a

question of fact, appropriate for summary-judgment resolution only if no reasonable

factfinder could decide for” Defendants. Uncommon, 926 F.3d at 425. There is enough

evidence in the record concerning the sophistication of the consumers, Defendants’

intent in using these marks, and lack of actual confusion so that a reasonable

factfinder could certainly find in Defendants’ favor on this issue and determine that

consumers are not likely to be confused about UL and FM’s approval of the Firestop

Box Insert. Thus, FireBlok’s motion for summary judgment on its false association

claim must be denied.




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                                CONCLUSION

      For the foregoing reasons, FireBlok’s motion for summary judgment is denied.



Entered: June 2, 2025                       By: _________________________
                                            Iain D. Johnston
                                            U.S. District Judge




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